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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

JACKSONVILLE DIVISION
ROBERT WILLIS,
Plaintiff,
Vv. Case No. 3:19-cv-00018-J-20PDB
OPTIMIM OUTCOMES, INC.,
Defendants.
/
ORDER

Before the Court is Plaintiffs “Notice of Voluntary Dismissal without Prejudice” (Dkt. 8).
Plaintiff seeks to voluntarily dismiss his claims against the named Defendant, who has not yet filed
an answer or motion for summary judgment.

Accordingly, it is hereby ORDERED:

1. Pursuant to Rule 41(a)(1)(A)@) of the Federal Rules of Civil Procedure, this case is
DISMISSED without prejudice; and

2. The Clerk is directed to CLOSE this case.

DONE and ORDERED at Jacksonville, Florida, this Z G #_ day of February, 2019.

    

ITED STATES DISTRICT JUDGE

Copies to:
Jason R. Derry, Esq.
Matthew R. Rosenkoff, Esq.
